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AO 245B (CASDRev. 08113) Judgment in a Criminal Case for Revocations
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                                                                                                              JUL 27 2016
                                     UNITED STATES DISTRICT COUR'l
                                                                                                         CLERK US OIST ~! COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA                            SOUTHERN OISTRIC   F CALIFORNIA
                                                                                                      BY                I~    DEPUTY
             UNITED STATES OFANITillUCA                              JUDGMENT IN A CRL. ~ U~ LASE
                                                                      (For Revocation of Probation or Supervised Release)
                                                                      (For Offenses Committed On or After November I, 1987)
                                V.
            DESHAWN TRAVIS TURNER (9)
                                                                        Case Number:        llCR1448MMA

                                                                     MARTIN MOLINA
                                                                     Defendant's Attorney
REGISTRATION NO.                25439298
D-
THE DEFENDANT:
~    adutitted guilt to violation of allegation(s) No.      1-4

D    was found guilty in violation of allegation(s) No.   _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilty.

Accordingly, the court bas adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                  Natnre of Violation
                                   Unlawful use of a controlled substance and/or Failure to Test; VCCA (Violent Crime Control
             1-3                   Act)
              4                    Failure to participate in drug aftercare program




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 4 of this judgment.
Tbe sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the coutt and United States attorney of any
material change in the defendant's economic circumstances.




                                                                     H N. MICHAEL M. ANELLO
                                                                     UNITED STATES DISTRICT JUDGE




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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 THREE (3) MONTHS




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D    at                         A.M.                   on
            ----------------
       D as notified by the United States Marshal,
                                                                   -----------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D    on or before
       D    as notified by the United States Marshal.
       D    as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on   _________________________ 00 ____________________________


 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                      llCR1448 MMA
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THIRTY -SIX (36) MONTHS



     The defendant sball report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
          The defendant sball not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant sball cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant sball comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant sball participate in an approved program for domestic violence. (Check ifapplicable.)

        If this judgment imposes a fme or a restitution obligation, it sball be a condition of supervised release that the defendant pay any
    such fme or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
    Payments set forth in this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
     any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6)  the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)  the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



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                                SPECIAL CONDITIONS OF SUPERVISION


     1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information between
        the probation officer and the treatment provider. May be required to contribute to the costs of services
        rendered in an amount to be determined by the probation officer, based on ability to pay.

     2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Resolve all outstanding warrants within 60 days.

     4. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     5. Defendant shall not associate with any known members nor shall he possess, wear, use or display or have
        in his possession any item associated with gang dress or any item prohibited by the probation officer,
        including but not limited to any insignia, emblem, badge, cap, hat, scarf, bandanna, or any article of
        clothing, hand sign or paraphernalia associated with membership or affiliation in any gang including, but
        not limited to, the Insane Crips Gang (lCG).



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